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                                                       ORDER
                                   THE COURT HAVING READ and considered the
                                Defendant's Motion to Remove Federal Benefit Restriction,
                                and the Government's Response in non-opposition thereto,
                                hereby GRANTS Defendant's Motion.

                                   IT IS SO ORDERED this 13th day of April, 2015.


                                                ____________________________
                                                Gloria M. Navarro, Chief Judge
                                                United States District Court
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